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                                                              of Justice


                                                          United States Attorney
                                                          District of Maryland
                                                          Southern Division


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                                                          May 3, 2010

The Honorable Roger W. Titus
United States District Judge
United States Courthouse
6500 Cherrywood Lane
Greenbelt, Maryland 20770

           Re:        United States v. Paulette Martin, et al.
                      Criminal No. RWT-04-0235

Dear Judge Titus:

        On or about April 15, 2010, the defendant Paulette Martin filed a motion to vacate prior
forfeiture orders and Demanding the Return of All Forfeited Property. The government’s response
is presently due on May 3, 2010.

        As the court knows, at the time this motion was filed, government counsel was involved in
preparation for the trial of United States v. Byron Grey, RWT 08-0462 and the sentencing in the
case of United States v. Opio Moore, RWT-08-0203. Moreover, government counsel is presently
preparing for three appellate arguments which are scheduled for May 13, 2010. As a result
government counsel respectfully requests an extension to May 20, 2010 to file its response to the
defendant’s motion. Counsel for Paulette Martin has been contacted and consents to this request.

           Thank you for your consideration of this request.
                                                Very truly yours,

                                                   Rod J. Rosenstein
                                                   United States Attorney



                                               By:_____________________________
                                                   Deborah A. Johnston
                                                   Assistant United States Attorney
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